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      IN THE UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCmT


INRE:                                                   §
                                                        §
                                                             CaseNo.     0 9 27  8m




RALPH LYLE CRUM,                                        §
     Debtor.                                            §
-------------------------------------------------------- §         U.S. COURT OF APPEALS
RALPH LYLE CRUM, DEBTOR                                  §
         Petitioner                                      §                FilED
v.                                                       §              MAY 2 6 2009
KENT DAVID RIBS, TRUSTEE                                 §
and RANDI CRUM,                                          §
                                                                   CHARLES R. FULBRUGE /II
         Respondents                                     §                         CLERK


              DEBTOR'S UNOPPOSED MOTION FOR LEAVE TO APPEAL DIRECTLY
                       . TO THE FIFTH CIRCUIT COURT OF APPEALS

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Ralph Lyle Crum, Debtor                   here~   and submits this Motion for Leave to

Appeal Directly to the Fifth Circuit Court of Appeals, from a tinal judgment entered by the United

States Bankruptcy Court, Amarillo Division, Northern District of Texas, pursuant to provisions of

28 U.S.C. Section I58(d) as follows:

        I.       Ralph Lyle Crum, Debtor below, complains ofa:final Order ofthe bankruptcy court

                 sustaining the Chapter 7 Bankruptcy Trustee's and Creditor Randi Crum's Objections

                 to Debtor's Claimed Exemptions, which Order was entered on April 16, 2009 in the

                 case styled In re Ralph Lyle Crum, Case No. 08-20297-rlj-07, U.S. Bankruptcy

                 Court, Amarillo Division, Northern District ofTexas. A timely Notice ofAppeal was

                 filed in the bankruptcy court below on April 27, 2009.

        II.      All the parties which filed Objections to Debtor's Exemptions, and which


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Debtor's Motion for Reliefto Appeal Directly to Fifth Circuit Court of Appeals                    Page 1




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                   participated in the hearing thereon, filed a Certification to the Court ofAppeals in the

                   bankruptcy court below on May 5, 2009. Therein, all parties agreed and certified that

                   a circumstance pennitting a direct appeal under 28 U.S.C. Section 158(d)(2) exists,

                   and the reasons therefore, along with a brief description of the primary issues of

                   appeal. A true copy of the Certification by All Parties is attached hereto as exhibit

                   "A".

         III.      The name of all parties to the judgment, order or decree appealed from and the

                   names, addresses, and telephone numbers oftheir respective attorneys are as follows:

         A.        Ralph Lyle Crum, Debtor in Case No. 08-20297-rlj-07 in the U.S. Bankruptcy

                   Court, Amarillo Division, Northern District of Texas, styled In re Ralph Lyle

                   Crum, filed for relief on April 28, 2009. He may be reached through his attorney

                   of record as follows:

                                                     Van W. Northern
                                                     NORTHERN LAW FIRM
                                                     112 W. 8th, Suite 400
                                                     Amarillo, Texas 79101
                                                     806-374-2266 Telephone
                                                     807-374-9535 Facsimile


         B.        Randi Crum, ex-Wife and Creditor of Debtor in the above referenced bankruptcy

                   Case No. 08-20297-rlj-07. She may be reached through her attorney of record as

                   follows:
                                                     Coleman Young
                                                     Templeton, Smithee, Hayes, Heinrich, & Russell, LLP
                                                     P.O. Box 15010
                                                     Amarillo, Texas 79105
                                                     806-324-0324 Telephone




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Debtor's Motion for ReIiefto Appeal Directly to Fifth Circuit Court of Appeals                     Page 2
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        C.       Kent Ries, Chapter 7 Bankruptcy Trustee in the above referenced bankruptcy Case

                 No.08-20297-rlj-07.

                                                     Mr. Kent David Ries, Attorney at Law
                                                     600 S. Tyler, Suite 1300
                                                     P.O. Box 12058
                                                     Amarillo, Texas 79101
                                                     806-242-7437 Telephone


                                          PRAYER FOR RELIEF

         WHEREFORE, PREMISES CONSIDERED, Debtor files this unopposed Motion for Direct

Appeal from the bankruptcy court directly to the United States Fifth Circuit Court ofAppeals, and

asks that the Motion be granted; and that the appeal be docketed and proceed according to the

Federal Rules ofAppellate Procedure, and for such further relief at law and equity to which he may

be justly entitled.

                                                                       Respectfully submitted,

                                                                       NORTHERN LAW FIRM
                                                                       112 W. 8th Ave., Suite 400
                                                                       Amarillo, Texas 79101
                                                                       Tel. (806) 374-2266
                                                                       Fax. (806) 374-9535

                                                                       --1LtJtrJ~
                                                                       Van W. Northern
                                                                       State Bar No. 15101100
                                                                       Attorneyfor Debtor




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Debtor's Motion for Relief to Appeal Directly to Fifth Circuit Court of Appeals                     Page 3
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                                      CERTIFICATE OF SERVICE

         The undersigned certifies that he has on the date shown below transmitted a true copy of

the foregoing document to the following parties in.interest by regular U.S. mail on the 19th day

of May, 2009:

KentD. Ries                                                   Cole Young
600 S. Tyler, Suite 1300                                      Templeton, Smithee, Hayes,
Box 12058                                                     Heinrich & Russell, L.L.P.
Amarillo, Texas 79101                                         P.O. Box 15010
Chapter 7 Trustee                                             Amarillo, Texas 79105
                                                              Attorneyfor Movant, Rand; L. Crum

U. S. Trustee
1100 Commerce Street, Room 9C60
Dallas, Texas 75242

                                                                       -1L6 t[/abA
                                                                                 U),
                                                                       Van W: Northern
                                                                       Attorney for Ralph Crwn Debtor




In re: Ralph L. Crom
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Van W. Northern
NORTHERN LAW FIRM
112 W. 8th Ave., Suite 400
Amarillo, Texas 79101
SBN: 15101100
(806) 374-2266, (806) 374-9535 FAX
ATTORNEY FOR RALPH LYLE CRUM

                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF TEXAS
                                     .J\MARILLO DIVISION

INRE:                                                §   Case No. 08-20297-RU-7
                                                     §
RALPH LYLE CRUM,                                     §   Chapter 07
     Debtor.                                         §
                                                     §

                   CERTIFICATION TO COURT OF APPEALS BY ALL PARTIES


         A Notice ofAppeal was filed by Ralph Lyle Crum, Debtor in the above styled and numbered

cause on April 27, 2009. Debtor, along with Kent Ries, Trustee, and Randi Crum (a creditor),

constitute all the appellants and all the appellees, hereby certify to the Court under 28 U.S.C. Section

158(d)(2)(A) that a circumstance specified in 28 U.S.C. Section 158(d)(2) exists as stated below.

         1.       Leave to appeal is not required under 28 U.S.C. Section 158(a).

         2.       This certification arises in a appeal from a final judgment, order, or decree of the

United States Bankruptcy Court for the Northern District ofTexas entered on April 16, 2009. There

are no motions filed that require a ruling by the bankruptcy court, and said order ofApril 16, 2009

is a appealable order.

         3.       Debtor contends that the pririlary issues of appeal are: .

         (a.) Whether the trial court's application of Inre Zibman, 268 F.3d 298 (5 th Cir. 2001) has

any application to Debtor's claim under the "snap shot rule" that $254,902.04 ofthe Debtor's funds


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Certification to Court of Appeals by all Parties                                                Page 1




                                                                                                  EXHIBIT

                                                                                           I-A­
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which were withdrawn from a qualified, IRA less than 60 days prior to filing bankruptcy, are exempt

from claims against the estate under 11 U.S.C. Section 522(d)(12), and other statutes and common

law relied upon by Debtor;

         (b.) whether Debtorwasforcedto an election ofexemptions under 11 U.S.C. Section 522b(2)

and (3), and/or Section 522(d) as decided by the trial court;

         (c.) whether the 60 day "tolling rule" which applies to the reinvestment ofIRA funds in order

to maintain their exempt status, after withdrawal from a qualified IRA, must be strictly applied,

where as here, (i) the Trustee objected to Debtor's exemption of the IRA funds, claiming same as

an asset ofthe estate, and thereby effectively prohibited Debtor's reinvestment ofthe funds within

the necessary 60 day period; (ii) the fund manager misrepresented the IRA status of the funds to

Debtor, after Debtor attempted to reinvest the withdrawn funds less than 60 days prior to bankruptcy;

         (d.) whether all statutes claimed by Debtor as a basis to exempt the.withdrawn IRA funds

were properly overruled by the trial court.

         4.   The Trustee, and Creditor Randi C~ contend that the bankruptcy court's opinion and

ruling sustaining their objections to Debtor's exemptions are substantially correct; and, while there

may be no case directly on point, the authorities cited by the trial court support the court's decision,

and are in keeping with current principals of law and related rulings of the Fifth Circuit Court of

Appeals; and that regardless of any decision rendered by the District Court on appeal, the appeal

would eventually be decided by the Fifth Circuit.

         5.   Therefore, the parties agree that a direct appeal from the judgment, order, or decree of

the bankruptcy court will materially advance the progress of the case or proceeding in which the

appeal is taken, because the main bankruptcy case has been pending since May 30, 2008, and the


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Certification to Court of Appeals by all Parties                                                Page 2
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Estate holds substantial assets, and the main proceeding cannot be closed until a fInal detennination

is made resolving this dispute. Therefore, the parties agree that allowing an direct appeal to the Fifth

Circuit will materially advance the progress ofthe bankruptcy case.


                                     Attorneyfor Debtor, Ralph Lyle Crum

 lsi Van W. Northern
Van W. Northern
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112 W. 8th, Suite 400
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northernlaw@suddenlinkmail.com


                                             Attorneyfor Randi Crum

 lsi Coleman Young
Coleman Young
Templeton, Smithee, Hayes, Heinrich, & Russell, LLP
P.O. Box 15010
Amarillo, Texas 79105
806-324-0324 Telephone
cole@templetonsmithee.com


                                         Attorneyfor Trustee, Kent Ries

lsi Kent Ries
Mr. Kent David Ries
600 S. Tyler, Suite 1300
P.O. Box 12058
Amarillo, Texas 79101
806-242-7437 Telephone
kent@kentries.com




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Certification to Court of Appeals by all Parties                                                Page 3
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        IN THE UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT


 IN RE:                                                    §    Case No. _ _---'-_ _
                                                           §
 RALPH LYLE CRUM,                                          §
      Debtor..                                             §
 -------------------------------------------------------- §
 RALPH LYLE CRUM, DEBTOR                                  §
       Petitioner                                        .§
 v.                                                       §
 KENT DAVID RlES, TRUSTEE                                 §
 and RAND! CRUM,                                           §
       Respondents                                         §


                        DEBTOR'S CERTIFICATE OF INTERESTED PERSONS

 TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW, Ralph Lyle ClUm, Debtor herein, and submits this Certificate of Interested

 Persons as follows:

          The name of all parties to the judginent, order           01'   decree appealed from and the names,

. addresses, and telephone numbers oftheir respective attorneys ar'e as follows:

          A        Ralph Lyle Crum, Debtor in Case No. 08-20297-rl}07 in the U.S Banlauptcy

                   Court, Amarillo Division, Northem District of Texas, styled In          Ie   Ralph Lyle
                                                                                                                 f
                   C!um, filed for relief on April 28, 2009 A Texas citizen, he may be reached                   I
                                                                                                                 ~-
                   thlOugh his attorney ofrecord as follows:
                                                                                                                 I
                                                                                                                 I
                                                      Varr·W. NOlthem                                            j'
                                                                                                                 I
                                                      NORTHERN LAW FIRM
                                                      112 W.. 8th , Suite 400                                    I
                                                                                                                 1" -


                                                      Amatillo, Texas 79101                                      ,f
                                                      806-374-2266 Telephone
                                                      807-374-9535 Facsimile


 In re: Ralph L Crum
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          B,      Randi CIUffi, ex-wife and Creditor of Debtor in the above referenced baruauptcy

                   Case No. 08-20297-rl j-07. A Connecticut citizen, she may be reached           jugb
                                                                                                  I

                                                                                                         her

                   attomey ofrecord as follows:

                                                     · Coleman Young
                                                       Templeton, Smithee, Hayes, Heimich, & Russell, LLP
                                                       PO, Box 15010                          I

                                                       Amarillo, Texas 79105
                                                       806-324-0324 Telephone



         C,       Kent Ries,· Chapter 7 Banlauptcy TIustee in the above referenced bankiuptcy Case

                  No 08-20297-rlj-07, A Texas citizen, he may be reached at:                      I




                                                      Mr. Kent David Ries, Attomey at Law
                                                      600 S Tyler, Suite 1300
                                                      P ,0.. Box 12058
                                                      Amarillo, Texas 79101
                                                      806-242-7437 Telephone


                                                                        Respectfully submitted,

                                                                        NORTHERN LAW FIRM
                                                                        112W, 8 th Ave, Suite 400
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                                                                        Fax (806) 374-9535

                                                                      , tLVr/L!P,#\1
                                                                       VanW, NOIthem
                                                                       State Bar' No, 15101100
                                                                       Attorney for Debtor




                                                                                                               1'""'




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Debtor's Motion for Relief to Appeal Directly to Fifth Circuit Court of Appeals                       Page 2




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                                                CERTIFICATE OF SERVICE

                  The undersigned certifies that he has on the date shown below transmitted a true copy of

         the foregoing document to the following pmties in interest by regular u.,S ' mail on the 26th day  1




         of May, 2009:

         Kent DRies                                                    Cole Young
         600 S" Tyler, Suite 1300                                      Templeton, Smithee, Hayes,
         Box 12058                                                     Heimich & Russell, LLP,
         AmaIillo, Texas 79101                                         PO Box15010
         Chapter 7 Trustee                                             AmaIillo, Texas 79105
                                                                                                      I
                                                                       Attorney [or Movant, Randi L Crum
                                                                                                        I




                                                                                Van W, NOlthem          I
                                                                                Attorney for Ralph CIum Debtor




        In re: Ralph L Crum
        Debtor's Motion for Relief to Appeal Directly to Fifth Circuit Court of Appeals                         Page 3
